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                 UNITED STATES DISTRICT COURT
                 FOR THE DISTRICT OF MONTANA
                       HELENA DIVISION

MICHAEL D. STAPP,
                                           NO.: CV-20-36-H-BMM-JTJ
             Plaintiff,
vs.

ANDREW SAUL, Commissioner                  ORDER AWARDING EAJA FEES
of Social Security Administration,                AND COSTS

             Defendant.


             Plaintiff Michael D. Stapp ("Stapp"), by and through his

attorney, John E. Seidlitz, Jr., moves under the Equal Access to Justice Act

("EAJA"), 28 U.S.C. §2412(d), for attorney fees and filing costs incurred in

prosecuting his Social Security appeal. He requests $6,534.68 in fees and

$400.00 in costs. Costs are not paid by agency funds, but rather by the

Judgment Fund.

             Defendant Commissioner of Social Security ("Commissioner")

does not object to Stapp’s application for fees and costs in this amount.

             Accordingly, IT IS ORDERED that Defendant shall pay

$6,534.68 in attorney fees under the Equal Access to Justice Act, 28 U.S.C.

§2412, as well as $400.00 in filing fee costs.

             IT IS FURTHER ORDERED that if, after receiving the



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Court’s EAJA fee order, the Commissioner (1) determines upon effectuation

of the Court’s EAJA fee order that Plaintiff does not owe a debt that is

subject to offset under the Treasury Offset Program, (2) agrees to waive the

requirements of the Anti-Assignment Act, and (3) is provided a valid

assignment of fees executed by Plaintiff, the fees will be made payable to

Plaintiff’s attorney and mailed to Plaintiff’s attorney’s office as follows:

             Seidlitz Law Office
             P.O. Box 1581
             Great Falls, MT 59403-1581

However, if there is a debt owned under the Treasury Offset Program, the

Commissioner cannot agree to waive the requirements of the Anti-

Assignment Act, and a check for any remaining EAJA fees after offset will

be paid by a check made out to Plaintiff, but delivered to Plaintiff’s

attorney’s office at the address stated above.

             DATED this 8th day of June, 2021.




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